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                               Exhibit 20



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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            UNITED STATES DISTRICT COURT

         FOR THE DISTRICT OF MASSACHUSETTS

                      VOLUME II

   IN RE:   PHARMACEUTICAL        : MDL NO. 1456

   INDUSTRY AVERAGE WHOLESALE     : CIVIL ACTION:

   PRICE LITIGATION               : 01-CV-12257-PBS

                                  :

   THIS DOCUMENT RELATES TO       :

   U.S. ex rel. Ven-A-Care of     :

   the Florida Keys, Inc. v.      :

   Abbott Laboratories, Inc.      :

   No. 06-CV-11337-PBS            :

                                - - -

                Continuation of the videotaped

   deposition of ROBERT VITO was taken, pursuant

   to notice, at MORGAN LEWIS & BOCKIUS, LLP,

   1701 Market Street, Philadelphia,

   Pennsylvania, on Wednesday, June 20, 2007,

   beginning at 8:43 a.m., before M. Kathleen

   Muino, Professional Shorthand Reporter, Notary

   Public; Michael Hunterton, Certified Legal

   Video Specialist, there being present:




                         Henderson Legal Services
                               202-220-4158

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                                                                          Page 290
 1
     APPEARANCES:
 2

 3
              UNITED STATES DEPARTMENT OF JUSTICE
 4
              CIVIL DIVISION
 5
              BY:    JOHN K. NEAL, ESQUIRE
 6
              601 D Street, N.W.
 7
              Washington, D.C.            20004
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              Phone:      (202) 307-0405
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              John.Neal2@usdoj.gov
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              Representing the United States
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              U.S. DEPARTMENT OF JUSTICE
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              CIVIL DIVISION
14
              BY:    JUSTIN DRAYCOTT, ESQUIRE
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              P.O. Box 261, Ben Franklin Station
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              Washington, D.C.            20044
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22




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                                                                          Page 469
 1
     exhibit.
 2
                           - - -
 3
                   (Whereupon, Exhibit Abbott 247 was marked
 4
     for Identification.)
 5
                           - - -
 6
                   THE WITNESS:         Thank you.
 7
     BY MR. TORBORG:
 8
            Q.     A document that I understand was
 9
     produced from your files.               It bears the Bates Nos.
10
     HHD059-0445.        It's a one-page document. It appears
11
     to be an email from Gordon Sato -- or Sato -- does
12
     that sound -- is that --
13
            A.     Sato.
14
            Q.     -- Sato to yourself dated August 16th,
15
     1993.     Mr. Sato wrote:          Hey, Rob, how's it going?
16
     Bill had mentioned that you were coming down to
17
     Little Rock the week of September 13.
18
            Then he asks if you need hotel reservations.
19
            Mr. Sato was a gentleman that you indicated
20
     had worked on prescription drug pricing issues in
21
     the past, correct?
22
            A.     Yes.

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                                                                          Page 470
 1
            Q.     And as I understand from your testimony
 2
     yesterday, this was a document that was produced
 3
     from either your work paper files or your computer
 4
     files relating to drugs; is that right?
 5
            A.     I guess, yes.
 6
            Q.     Do you -- do you if this -- if you had a
 7
     discussion with -- or a trip to Little Rock in
 8
     September of 1993 that related to prescription drug
 9
     issues?
10
            A.     I can't remember, but it -- if -- if I
11
     was going to meet with Mr. Sato, it's likely that
12
     there was some involvement of prescription drugs,
13
     but I don't know if I was going down there for
14
     another issue and if I was just going to see him
15
     when I was down there.
16
            Q.     And where did Mr. Sato work again?
17
            A.     Mr. Sato, I believe, worked in Dallas,
18
     and he was the audit manager responsible for the
19
     Little Rock office.
20
            Q.     Little Rock, Arkansas?
21
            A.     Yes, sir.
22
            Q.     And did that office do work on drug

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                                                                          Page 471
 1
     pricing and reimbursement issues?
 2
            A.     Yes, sir.
 3
            Q.     And you don't recall anything more, as
 4
     you sit here today, about that meeting in Little
 5
     Rock that apparently took place in September of
 6
     1993?
 7
                   MR. NEAL:        I'll object to the form.
 8
                   You can answer.
 9
                   THE WITNESS:         I don't remember anything.
10
     BY MR. TORBORG:
11
            Q.     It's been 14 years since then.                    Your
12
     memory has faded over time?
13
            A.     Yes.     I couldn't remember where I parked
14
     my car yesterday.           How could I remember what I did
15
     in September 13th?           I apologize.         I'm sorry.
16
            Q.     September 13th, 1993?
17
            A.     1993, right.         That's even more
18
     difficult.       Thank you.
19
                           - - -
20
                   (Whereupon, Exhibit Abbott 248 was marked
21
     for Identification.)
22
                           - - -

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                                                                          Page 472
 1
                   MR. TORBORG:         For the record, I've marked
 2
     as Exhibit Abbott 248 a document that bears the
 3
     Bates Nos. HHD059-0447.
 4
     BY MR. TORBORG:
 5
            Q.     Mr. Vito, again, this is a document that
 6
     I understand was produced from your files.                          It
 7
     appears to be a fax from Mr. Bill Shrigley to
 8
     yourself, and the heading of the fax sheet
 9
     indicates it's -- it appears to be from the -- the
10
     OAS office in Little Rock, Arkansas; is that right?
11
            A.     Yes.
12
            Q.     And that's where Mr. Shrigley worked?
13
            A.     Yes.
14
            Q.     And in the cover message, he states:
15
     Rob, take a look at this blurb.                  Shrig.
16
            Was Shrig Bill Shrigley's nickname?
17
            A.     Yes.
18
            Q.     Do you have any idea what this is
19
     talking about, what the blurb was?
20
            A.     I really don't, but it likely has
21
     something to do with prescription drugs, I would
22
     guess.

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                                                                          Page 473
 1
                   MR. TORBORG:         This is the next one.
 2
                           - - -
 3
                   (Whereupon Exhibit Abbott 249 was marked
 4
     for Identification.)
 5
                           - - -
 6
                   MR. TORBORG:         Would you give them a
 7
     couple copies across the way.                 I think I gave the
 8
     wrong stack.
 9
                   Mark this one as well at the same time.
10
                           - - -
11
                   (Whereupon, Exhibit Abbott 250 was marked
12
     for Identification.)
13
                           - - -
14
                   THE WITNESS:         It's two different...
15
     Okay.     I guess it's -- no.            It's Exhibit Abbott 249
16
     and Exhibit Abbott 250.
17
                   MR. TORBORG:         For the record, what I've
18
     marked as Exhibit Abbott 249 bears the Bates Nos.
19
     HHD050-1463 through 66; and what I have marked as
20
     Exhibit Abbott 250 bears the Bates Nos. HHD059-0001
21
     through 04.
22
     BY MR. TORBORG:

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                                                                          Page 474
 1
            Q.     Mr. Vito, I can represent to you that
 2
     the first document that I just showed you, Exhibit
 3
     Abbott 249, I believe was produced from the working
 4
     paper files from a report that your office did in
 5
     the mid-1990s.
 6
            The second document, which appears to be in
 7
     substance the same, except for an annotation --
 8
            A.     God bless you.
 9
                   MR. TORBORG:         Bless you.
10
     BY MR. TORBORG:
11
            Q.     -- was a document that was produced from
12
     your files.
13
            And if I could just direct your attention to
14
     Exhibit Abbott 249.            Do the documents appear to be
15
     the same to you save for a notation contained on
16
     the first page of Exhibit Abbott 249?
17
            A.     Yes.
18
            Q.     And that notation states:                From B.
19
     Jackson, backslash, OAS, List compiled by DOJ. Do
20
     you see that?
21
            A.     Yes.
22
            Q.     And then there are a list of drugs

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                                                                          Page 475
 1
     provided in this four-page document; is that right?
 2
            A.      Yes.
 3
            Q.      Separated by manufacturer, correct?
 4
            A.      Yes.
 5
            Q.      The first manufacturer listed is Abbott
 6
     Laboratories, and then there's a -- a listing of
 7
     drugs include Sodium Chloride, Vancomycin, and
 8
     Dextrose, among others; is that right?
 9
            A.      Yes.
10
            Q.      Mr. Vito, do you recall receiving this
11
     facsimile?
12
            A.      I don't recall receiving it, but I'm
13
     sure that we did.
14
            Q.      Earlier today you gave some testimony
15
     about receiving some information from the Office of
16
     Audit Services that -- in connection with the first
17
     time you made contact with Ven-A-Care.                      Do you
18
     recall that testimony?
19
            A.      Yes.     About Gerald Dunham?
20
            Q.      Yes.
21
            A.      Yes.
22
            Q.      Who is Ben Jackson?

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                                                                          Page 476
 1
            A.      He was in charge of the Health Care
 2
     Financing Audit Division in -- in Baltimore for the
 3
     OIG.
 4
            Q.      And could you tell me again where Gerald
 5
     Dunham worked?
 6
            A.      Gerald Dunham worked in Atlanta,
 7
     Georgia, as an audit manager.                 Ben worked as a
 8
     manager in Baltimore.
 9
            Q.      Whose handwriting is this in the bottom
10
     left-hand corner of Exhibit Abbott 249?
11
            A.      I believe it's Linda Ragone's.
12
            Q.      There's also an annotation at the top
13
     left side of the document on the first page. It
14
     says:     All AWPs in 1994, price equals cost paid by
15
     small infusion therapy pharmacy.
16
            Do you know whose handwriting that is?
17
            A.      I do not.
18
            Q.      And what does this document show, Mr.
19
     Vito?
20
                    MR. NEAL:       Object to the form.
21
                    You can answer.
22
                    THE WITNESS:         It -- it appears to show

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 1
     what the AWP is, and then it also shows a price,
 2
     and according to the annotation, price is equal to
 3
     the cost paid by small infusion therapy pharmacies.
 4
     BY MR. TORBORG:
 5
            Q.      Could you help me with the fax line at
 6
     the top of the page.             One says HHS OIG OAS and
 7
     HCFA?
 8
            A.      That's Ben Jackson, where he would be
 9
     working, in Baltimore.
10
            Q.      Okay.     And the DOJ Civil Frauds, that
11
     would be where?
12
            A.      In Washington.
13
            Q.      Given the fax number --
14
            A.      Number.
15
            Q.      -- that you see there?
16
            A.      And giving who would be working on the
17
     case.
18
            Q.      Do you know why you would have received
19
     a copy of this document and had it in your files?
20
                    MR. NEAL:       I'll object to the form.
21
                    You can answer.
22
                    THE WITNESS:         I think we might have been

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 1
     doing a report on looking at the -- looking at if
 2
     any of these prices were being utilized by the
 3
     states to pay for these drugs, because I believe
 4
     that there was a list that was compiled and shared
 5
     with CMS.       This is probably the list.
 6
     BY MR. TORBORG:
 7
            Q.      You re -- you recall sharing this list
 8
     with CMS?
 9
                    MR. NEAL:       Objection as to form.
10
                    MR. AZORSKY:         Objection.
11
                    THE WITNESS:         I -- I did not share it
12
     with CMS.       I think others might have, but not me.
13
     BY MR. TORBORG:
14
            Q.      What makes you think that others may
15
     have shared this list with CMS?
16
            A.      Because I think that I saw a comment
17
     somewhere where they said, you know, that this --
18
     actually, it might even be in our report, in which
19
     we -- we -- I think we did a report called, you
20
     know, States Use of New Pricing Information, and it
21
     was in the Medicaid program.                 It might be in there,
22
     in that report.

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                                                                          Page 493
 1
     prices to providers and the published average
 2
     wholesale price?
 3
                    MR. AZORSKY:         Object to the form.
 4
                    MR. NEAL:       I object to the form as well.
 5
                    And you heard my previous instruction.
 6
                    THE WITNESS:         I -- I -- I believe that we
 7
     -- our reports spoke for themself, in that there
 8
     were some products that were generics that were --
 9
     that had that difference, and there were also some
10
     brand name products that had that difference as
11
     well.     And, again, it was each -- each report stood
12
     on its own merit.           Albuterol, I think that you
13
     showed me we probably did at least -- I saw at
14
     least four of the ones that we did, and they were
15
     generic drugs, and we were showing what was going
16
     on in that.
17
                    In addition to that, I -- I -- the
18
     excessive Medicare reimbursement report, I believe
19
     that also pointed out some problems both with the
20
     brand name products and the generic products.
21
     BY MR. TORBORG:
22
            Q.      And we'll -- we'll get into the 1997

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 1
     report later, but I -- I don't know if you recall
 2
     this, but the percentage differences -- differences
 3
     that I showed you in that report, some of them were
 4
     pretty high for generic drugs, a lot --
 5
                    MR. NEAL:       Object --
 6
     BY MR. TORBORG:
 7
            Q.      -- of larger percentages were generic
 8
     drugs?
 9
                    MR. NEAL:       I'll object to the form.
10
                    You can answer.
11
                    THE WITNESS:         I -- I -- I think that
12
     there are some high percentages on generic drugs.
13
     But if I remember, some of our work, we've also
14
     were able to see that there were other problems
15
     with some brand name products as well.                      But there
16
     are -- there -- there are those differences with
17
     generics.
18
     BY MR. TORBORG:
19
            Q.      Did you have an understanding about what
20
     was causing there to be a large percentage
21
     difference on generic drugs between the selling
22
     prices in the market and published average

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 1
     wholesale prices?
 2
                    MR. NEAL:       I'll object to the form.
 3
                    THE WITNESS:         Our -- our work mainly
 4
     focused on the pricing of the products. We were
 5
     able to show how they varied.                 I don't know if we
 6
     actually grouped them in -- in -- in that manner.
 7
     But one of the products that we featured, doing a
 8
     lot of work on, was albuterol, and that was a
 9
     generic drug.
10
     BY MR. TORBORG:
11
            Q.      Do you -- I -- I'm not sure we're on the
12
     same wavelength on my -- on my question.                        I'll try
13
     again.
14
            Did you have an understanding about, for
15
     generic drugs, why there could be such a high
16
     percentage difference between the selling prices in
17
     the market to the average published prices?
18
                    MR. NEAL:       Objection as to form.
19
                    THE WITNESS:         That was not part of our
20
     review.      You know, there -- there was people who
21
     made speculation, but we were just to look at the
22
     pricing.

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